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     NORTH AMERICAN TITLE INSURANCE COMPANY
 6
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     2950 E. Flamingo Road, Suite L
 9   Las Vegas, Nevada 89121
10                               UNITED STATES DISTRICT COURT
11                                         DISTRICT OF NEVADA
12     BAYVIEW LOAN SERVICING, LLC,                      Case No.: 2:19-CV-01151-JAD-EJY
13                            Plaintiff,                 STIPULATION FOR EXTENSION OF
                                                         TIME TO RESPOND TO MOTION
14                    vs.                                FOR AN ORDER DETERMINING
                                                         WHETHER EXHIBIT FILED IN
15     NORTH AMERICAN TITLE INSURANCE                    SUPPORT OF MOTION FOR
       COMPANY,                                          PARTIAL SUMMARY JUDGMENT
16                                                       MUST BE SEALED (ECF No. 67)
                              Defendant.
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18
            COMES NOW defendant North American Title Insurance Company (“North American”)
19
     and plaintiff Bayview Loan Servicing, LLC (“Bayview”), by and through their respective
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     attorneys of record, which hereby agree and stipulate as follows:
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            1.      On October 28, 2020, Bayview filed its motion for an order determining whether
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     exhibit filed in support of motion for partial summary judgment must be sealed (ECF No. 67.);
23
            2.      North American’s deadline to respond to respond to the motion for an order
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     determining whether exhibit filed in support of motion for partial summary judgment must be
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     sealed is currently November 11, 2020;
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            3.      North American requests a brief extension of time to respond to Bayview’s motion,
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     until December 2, 2020, to afford North American additional time to respond to the legal
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                                                     1
                                           STIPULATION AND ORDER
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 1   arguments set forth in Bayview’s motion;
 2          4.     Bayview does not oppose the requested extension;
 3          5.     This is the first request for an extension which is made in good faith and not for
 4   purposes of delay;
 5          IT IS SO STIPULATED that North American’s deadline to respond to Bayview’s
 6   motion for an order determining whether exhibit filed in support of motion for partial summary
 7   judgment must be filed under seal (ECF No. 67) is hereby extended through and including
 8   December 2, 2020.
 9

10   Dated: November 5, 2020                      SINCLAIR BRAUN LLP
11

12                                                By:    /s/-Kevin S. Sinclair
                                                        KEVIN S. SINCLAIR
13                                                      Attorneys for Defendant
                                                        NORTH AMERICAN TITLE INSURANCE
14                                                      COMPANY
15   Dated: November 5, 2020                      WRIGHT FINLAY & ZAK, LLP
16

17                                                By:    /s/-Darren T. Brenner
                                                        DARREN T. BRENNER
18
                                                        Attorneys for Plaintiff
                                                        BAYVIEW LOAN SERVICING, LLC
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20   IT IS SO ORDERED.

21          Dated this 5th day of November, 2020.

22                                                  _______________________________________
                                                    ELAYNA J. YOUCHAH
23                                                  UNITED STATES MAGISTRATE JUDGE
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                                       STIPULATION AND ORDER
